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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,               )
                                        )
                   Plaintiff,           )                 4:10CR3052
                                        )
            v.                          )
                                        )                   ORDER
MY TAN CAO,                             )
                                        )
                   Defendant.           )
                                        )


      Upon the unopposed oral motion of the defendant,

      IT IS ORDERED:

     1.    The Violation of Supervised Release Hearing currently scheduled for
Thursday, October 30, 2014, at 12:00 noon is continued;

     2.    Counsel shall contact my judicial assistant, Kris Leininger, by telephone
on Monday, October 27, 2014, to reschedule the hearing.

      DATED this 22nd day of October, 2014.

                                       BY THE COURT:
                                       Richard G. Kopf
                                       Senior United States District Judge
